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STATE OF WISCONSIN CIRCUIT COURT BROWN COUNTY
COMMISSIONER’S COURTROOM B

 

STATE OF WISCONSIN
CRIMINAL COMPLAINT
‘Plaintiff,

Amy Jo Stevenson D.O.B. | | OXY) 79 7

2614 Riverhills Road SEX: Female We |
Two Rivers, W] 54241

VS

Defendant.

 

Complainant, an Assistant District Attorney for Brown County, Wisconsin, being first duly
swom, on oath deposes and says that on June 15, 2002 at the city of Green Bay, in said County,
State of Wisconsin, the defendant did:

issue a check numbered 000, in the sum of $50.00,

payable to Fleet Farm, intending at the time of issuance that said

check should not be paid; ISSUANCE OF WORTHLESS

CHECK - MISDEMEANOR, contrary to Section 943.24(1), E
Wisconsin Statutes, ji LL

The offense is defined as a Class A misdemeanor; upon convi¢tion Tid 0?
of the offense, the defendant is subject to OCT | °
imprisonment of not more than 9 months and a fine

of not more than $10,000. CLERK OF COURTS

BROWN COUNTY, wi

that the basis for the complainant’s charge of such offense is:

Complainant is an Assistant District Attorney for Brown County, Wisconsin and knows of the
above offense based upon information he received from:

1) Racheal Vandenlangenburg, a cashier at the Fleet Farm in the city of Green Bay, Brown
County, Wisconsin, that on June 15, 2002, she received a personal check numbered 000 drawn
on the account of Amy Jo Stevenson at the First National Bank, dated June 15, 2002, made
payable to the order of Fleet Farm, in the amount of $50.00, and signed by Amy Jo Stevenson;
and that said check was received in return for merchandise;

2) Racheal Vandenlangenburg, that the person issuing the above described check identified
herself with Wisconsin Driver's License/Identification number iy

3) The Wisconsin Department of Transportation, Division of Motor Vehicles, that Wisconsin
Driver’s License/Identification — ee issued to Amy Jo Stevenson;

4) Racheal Vandenlangenburg that the above described check was presented to the bank for
payment and was returned to Fleet Farm unpaid and marked insufficient funds;

   
   

  
 
 

EXHIBIT

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Case 1:17-cv-00070-WCG Filed 06/15/21 P
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5) On July 8, 2002, Fleet Farm attempted to serve Amy Jo Stevenson with a five-day notice by
certified mail, but the five-day notice was refused/unclaimed/attempted not known. The letter
was mailed to the address given by the Amy Jo Stevenson at the time of the purchase.

Complainant believes Racheal Vandenlangenburg to be reliable because she is a citizen
informant.

Complainant

Subscribed and sworn to before me
and APPROVED FOR FILING
this day of October, 2002.

Mlb

Assistant DMstrict Attorney

D001551
Case 1:17-cv-00070-WCG Filed 06/15/21 Page 2 of 3 Document 200-2
STATE OF WISCONSIN CIRCUIT COURT BROWN COUNTY

-“tate vs Amy Jo Stevenson JUDGMENT OF CONVICTION AND
SENTENCE TO THE COUNTY
JAIL/FINE/FORFEITURE

Date of Birth: Case No.: 02CM001799

The defendant was found guilty of the following offense(s):

 

 

 

Date(s) Trial Date(s)
Ct. Description Violation Plea Severity Committed To Convicted
1 County/Munipality Worthless 943.24(1) No Contest Forf.U 06-15-2002 11-15-2002
Checks
The defendant is guilty as convicted and sentenced as follows:
Ct. Sent. Date Sentence Length Conc. with/Cons. to/Comments Begin date Begin time Agency
1 11-15-2002 Forfeiture / Fine
1 11-15-2002 Restitution
Obligation Detail:
Days to
Ct. Schedule Amount Pay Due Date Failure to Pay Actlon Victim
1 Local forf. - w/CC 89.00 30 42-16-2002 win,
tt 4
Restitution 60.00 30 12-16-2002 Oo lisHBep Farm
Sie "PS
sor 1O%
= i eft Se
Obligation Summary: 254 is 3
Fine & Court Attorney Mand. Victim/ 5% Rest. © nalysis “os
Ct. Forfelture Costs Fees Restitution Other Witness Sur. Surcharge § ge lezen ‘petals oS
1 10.00 74.00 60.00 5.00 “tp, oT ¢ *
John A. Vandwrtannt/ lit ate
Coats cerlily ihnt the copy annexed has been
Total po Dligations: compared by me with the original on file and
149.0 required by law to be in my custody, the name is
ranscript and true copy of the original
It is adjudged that O days sentence credit are due pursuant to § 973.155 Wiscanalry Stas : tite i sol ay hengund affix the : al
ofthe eh | c
Special Conditions: Bay, this; ree

   

It Is ordered that the Sheriff shall execute this sentence.

Lawrence L. Gazeley, Court Commissioner
Eric R. Enli, District Attorney
County Sheritf f L E

 

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CLERK OF CQURTS
BROWN COUNTY, WI

CR-204(0) 6/99 Judgment of Conviction 68303.08(5), B72.13, 962.14, Chapter 873 Wuconsin Statutes
Page 1

D001552
Case 1:17-cv-00070-WCG Filed 06/15/21 Page 3 of3 Document 200-2
